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IN THE UNITED STATES DISTRIC'I` COURT
FOR THE SOUTHERN DISTRICT OF IOWA

 

/
M’Lissa Foreman : Civil Action No. 9 108" cy"$ /38/
Plaintiff,

VS.

LAW OFFICE OF CURTIS O. BARNES,
P.C.

Defendant.

 

DISMISSAL WITH PREJUDICE
Plaintiff, M’Lissa Foreman, by her attorney Ray Johnson, hereby dismisses the

above-captioned matter with prejudice pursuant to a settlement between the parties.

Plaintiff signs out for costs.

Respectfully submitted,

RA ON

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